                                  Case 6:24-bk-05255-GER                           Doc 1      Filed 09/28/24                Page 1 of 93

 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

               Middle District of Florida

 Case number (If known):                           Chapter you are filing under:
                                                   ✔
                                                   ❑       Chapter 7
                                                   ❑       Chapter 11
                                                   ❑
                                                                                                                                              ❑ Check if this is an
                                                           Chapter 12
                                                   ❑       Chapter 13
                                                                                                                                                 amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                              06/24
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and
in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if
either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In
joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Part 1: Identify Yourself

                                              About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name
                                               Nelson                                                          Belinda
       Write the name that is on your         First name                                                      First name
       government-issued picture               Jose
       identification (for example, your      Middle name                                                     Middle name
       driver’s license or passport).
                                               Lacruz                                                          Benzaquen
       Bring your picture identification      Last name                                                       Last name
       to your meeting with the trustee.

                                              Suffix (Sr., Jr, II, III)                                       Suffix (Sr., Jr, II, III)




  2.   All other names you have
       used in the last 8 years               First name                                                      First name

       Include your married or maiden
       names and any assumed, trade           Middle name                                                     Middle name
       names and doing business as
       names.
                                              Last name                                                       Last name
       Do NOT list the name of any
       separate legal entity such as a
       corporation, partnership, or LLC       Business name (if applicable)                                   Business name (if applicable)
       that is not filing this petition.
                                              Business name (if applicable)                                   Business name (if applicable)




  3.   Only the last 4 digits of your
                                              xxx - xx - 0           2    1   5                               xxx - xx - 6           6    0     5
       Social Security number or
       federal Individual Taxpayer            OR                                                              OR
       Identification number
                                              9xx - xx -                                                      9xx - xx -
       (ITIN)




Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                                page 1
                                  Case 6:24-bk-05255-GER                         Doc 1      Filed 09/28/24            Page 2 of 93

 Debtor 1            Nelson              Jose                        Lacruz
 Debtor 2            Belinda                                         Benzaquen                                      Case number (if known)
                     First Name          Middle Name                 Last Name


                                          About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):


  4.   Your Employer Identification
                                                      -                                                               -
       Number (EIN), if any.              EIN                                                             EIN


                                                      -                                                               -
                                          EIN                                                             EIN




                                                                                                          If Debtor 2 lives at a different address:
  5.   Where you live
                                          6562 S Goldenrod Road Unit C
                                          Number            Street                                        Number           Street




                                          Orlando, FL 32822
                                          City                                    State   ZIP Code        City                                  State     ZIP Code

                                          Orange
                                          County                                                          County

                                          If your mailing address is different from the one above,        If Debtor 2's mailing address is different from yours, fill
                                          fill it in here. Note that the court will send any notices to   it in here. Note that the court will send any notices to you
                                          you at this mailing address.                                    at this mailing address.


                                          Number            Street                                        Number           Street



                                          P.O. Box                                                        P.O. Box



                                          City                                    State   ZIP Code        City                                  State     ZIP Code




  6.   Why you are choosing this          Check one:                                                      Check one:
       district to file for bankruptcy
                                          ✔ Over the last 180 days before filing this petition, I
                                          ❑                                                               ✔ Over the last 180 days before filing this petition, I
                                                                                                          ❑
                                                 have lived in this district longer than in any other            have lived in this district longer than in any other
                                                 district.                                                       district.

                                          ❑ I have another reason. Explain.                               ❑ I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                          (See 28 U.S.C. § 1408)




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
                                 Case 6:24-bk-05255-GER                    Doc 1       Filed 09/28/24           Page 3 of 93

 Debtor 1           Nelson             Jose                    Lacruz
 Debtor 2           Belinda                                    Benzaquen                                      Case number (if known)
                    First Name         Middle Name             Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


  7.   The chapter of the Bankruptcy   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
       Code you are choosing to file   Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                           ✔
                                       ❑      Chapter 7
                                       ❑      Chapter 11
                                       ❑      Chapter 12
                                       ❑      Chapter 13



  8.   How you will pay the fee        ✔ I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more
                                       ❑
                                           details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's
                                           check, or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with
                                           a credit card or check with a pre-printed address.

                                       ❑ I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals
                                           to Pay The Filing Fee in Installments (Official Form 103A).

                                       ❑ I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                           judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the
                                           official poverty line that applies to your family size and you are unable to pay the fee in installments). If you
                                           choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form
                                           103B) and file it with your petition.




  9.   Have you filed for bankruptcy   ✔ No.
                                       ❑
                                       ❑ Yes. District
       within the last 8 years?
                                                                                                When                       Case number
                                                                                                       MM / DD / YYYY

                                                District                                        When                       Case number
                                                                                                       MM / DD / YYYY

                                                District                                        When                       Case number
                                                                                                       MM / DD / YYYY




  10. Are any bankruptcy cases         ✔ No.
                                       ❑
                                       ❑ Yes. Debtor
       pending or being filed by a
       spouse who is not filing this                                                                                    Relationship to you
       case with you, or by a
       business partner, or by an               District                                      When                      Case number, if known
       affiliate?                                                                                    MM / DD / YYYY


                                                Debtor                                                                  Relationship to you

                                                District                                      When                      Case number, if known
                                                                                                     MM / DD / YYYY




  11. Do you rent your residence?      ❑ No. Go to line 12.
                                       ✔ Yes. Has your landlord obtained an eviction judgment against you?
                                       ❑
                                                 ✔ No. Go to line 12.
                                                 ❑
                                                 ❑ Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it
                                                       as part of this bankruptcy petition.




Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 3
                                 Case 6:24-bk-05255-GER                        Doc 1         Filed 09/28/24         Page 4 of 93

 Debtor 1           Nelson                 Jose                    Lacruz
 Debtor 2           Belinda                                        Benzaquen                                      Case number (if known)
                    First Name             Middle Name             Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of         ✔ No. Go to Part 4.
                                           ❑
                                           ❑ Yes. Name and location of business
      any full- or part-time
      business?

      A sole proprietorship is a
      business you operate as an               Name of business, if any
      individual, and is not a separate
      legal entity such as a
      corporation, partnership, or LLC.        Number         Street

      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this
      petition.
                                               City                                                State            ZIP Code

                                               Check the appropriate box to describe your business:

                                               ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               ❑ None of the above

  13. Are you filing under Chapter         If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set
      11 of the Bankruptcy Code,           appropriate deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance
      and are you a small business         sheet, statement of operations, cash-flow statement, and federal income tax return or if any of these documents do not
      debtor?                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

      For a definition of small business   ✔ No.
                                           ❑             I am not filing under Chapter 11.

                                           ❑ No.
      debtor, see 11 U.S.C. §
      101(51D).                                          I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                         Bankruptcy Code.

                                           ❑ Yes.        I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                         Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                           ❑ Yes.        I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                         Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.




Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                                page 4
                                 Case 6:24-bk-05255-GER                     Doc 1      Filed 09/28/24            Page 5 of 93

 Debtor 1           Nelson              Jose                    Lacruz
 Debtor 2           Belinda                                     Benzaquen                                    Case number (if known)
                    First Name          Middle Name             Last Name


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any            ✔ No.
                                        ❑
                                        ❑ Yes.
      property that poses or is
      alleged to pose a threat of                 What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                  If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                  Where is the property?
                                                                              Number        Street




                                                                              City                                          State     ZIP Code




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                   page 5
                                 Case 6:24-bk-05255-GER                     Doc 1      Filed 09/28/24            Page 6 of 93

 Debtor 1           Nelson              Jose                    Lacruz
 Debtor 2           Belinda                                     Benzaquen                                      Case number (if known)
                    First Name          Middle Name             Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you        About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you         You must check one:                                            You must check one:
      receive a briefing about credit
      counseling before you file for    ✔ I received a briefing from an approved credit
                                        ❑                                                              ✔ I received a briefing from an approved credit
                                                                                                       ❑
      bankruptcy. You must truthfully       counseling agency within the 180 days before I                 counseling agency within the 180 days before I
      check one of the following            filed this bankruptcy petition, and I received a               filed this bankruptcy petition, and I received a
      choices. If you cannot do so,         certificate of completion.                                     certificate of completion.
      you are not eligible to file.
                                            Attach a copy of the certificate and the payment               Attach a copy of the certificate and the payment
      If you file anyway, the court         plan, if any, that you developed with the agency.              plan, if any, that you developed with the agency.
      can dismiss your case, you will
      lose whatever filing fee you      ❑ I received a briefing from an approved credit                ❑ I received a briefing from an approved credit
      paid, and your creditors can          counseling agency within the 180 days before I                 counseling agency within the 180 days before I
      begin collection activities           filed this bankruptcy petition, but I do not have a            filed this bankruptcy petition, but I do not have a
      again.                                certificate of completion.                                     certificate of completion.
                                            Within 14 days after you file this bankruptcy petition,        Within 14 days after you file this bankruptcy petition,
                                            you MUST file a copy of the certificate and payment            you MUST file a copy of the certificate and payment
                                            plan, if any.                                                  plan, if any.
                                        ❑ I certify that I asked for credit counseling services        ❑ I certify that I asked for credit counseling services
                                            from an approved agency, but was unable to                     from an approved agency, but was unable to
                                            obtain those services during the 7 days after I                obtain those services during the 7 days after I
                                            made my request, and exigent circumstances                     made my request, and exigent circumstances
                                            merit a 30-day temporary waiver of the                         merit a 30-day temporary waiver of the
                                            requirement.                                                   requirement.
                                            To ask for a 30-day temporary waiver of the                    To ask for a 30-day temporary waiver of the
                                            requirement, attach a separate sheet explaining                requirement, attach a separate sheet explaining
                                            what efforts you made to obtain the briefing, why you          what efforts you made to obtain the briefing, why you
                                            were unable to obtain it before you filed for                  were unable to obtain it before you filed for
                                            bankruptcy, and what exigent circumstances                     bankruptcy, and what exigent circumstances
                                            required you to file this case.                                required you to file this case.

                                             Your case may be dismissed if the court is                     Your case may be dismissed if the court is
                                             dissatisfied with your reasons for not receiving a             dissatisfied with your reasons for not receiving a
                                             briefing before you filed for bankruptcy.                      briefing before you filed for bankruptcy.

                                             If the court is satisfied with your reasons, you must          If the court is satisfied with your reasons, you must
                                             still receive a briefing within 30 days after you file.        still receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved agency,          You must file a certificate from the approved agency,
                                             along with a copy of the payment plan you                      along with a copy of the payment plan you
                                             developed, if any. If you do not do so, your case may          developed, if any. If you do not do so, your case may
                                             be dismissed.                                                  be dismissed.

                                             Any extension of the 30-day deadline is granted only           Any extension of the 30-day deadline is granted only
                                             for cause and is limited to a maximum of 15 days.              for cause and is limited to a maximum of 15 days.
                                        ❑ I am not required to receive a briefing about credit         ❑ I am not required to receive a briefing about credit
                                            counseling because of:                                         counseling because of:
                                            ❑ Incapacity. I have a mental illness or a mental              ❑ Incapacity. I have a mental illness or a mental
                                                               deficiency that makes me                                      deficiency that makes me
                                                               incapable of realizing or making                              incapable of realizing or making
                                                               rational decisions about finances.                            rational decisions about finances.
                                            ❑ Disability.      My physical disability causes me            ❑ Disability.     My physical disability causes me
                                                               to be unable to participate in a                              to be unable to participate in a
                                                               briefing in person, by phone, or                              briefing in person, by phone, or
                                                               through the internet, even after I                            through the internet, even after I
                                                               reasonably tried to do so.                                    reasonably tried to do so.
                                            ❑ Active duty. I am currently on active military               ❑ Active duty. I am currently on active military
                                                               duty in a military combat zone.                               duty in a military combat zone.

                                             If you believe you are not required to receive a               If you believe you are not required to receive a
                                             briefing about credit counseling, you must file a              briefing about credit counseling, you must file a
                                             motion for waiver of credit counseling with the court.         motion for waiver of credit counseling with the court.

Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 6
                                 Case 6:24-bk-05255-GER                        Doc 1       Filed 09/28/24             Page 7 of 93

 Debtor 1           Nelson                Jose                     Lacruz
 Debtor 2           Belinda                                        Benzaquen                                        Case number (if known)
                    First Name            Middle Name              Last Name


 Part 6: Answer These Questions for Reporting Purposes


  16. What kind of debts do you              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
      have?                                       “incurred by an individual primarily for a personal, family, or household purpose.”
                                                   ❑ No. Go to line 16b.
                                                   ✔ Yes. Go to line 17.
                                                   ❑
                                             16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                  for a business or investment or through the operation of the business or investment.
                                                   ❑ No. Go to line 16c.
                                                   ❑ Yes. Go to line 17.
                                             16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?        ❑     No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any
                                             ✔
                                             ❑     Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      exempt property is excluded                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses are                      ✔ No
                                                           ❑
      paid that funds will be available                    ❑ Yes
      for distribution to unsecured
      creditors?

  18. How many creditors do you               ❑ 1-49            ❑ 1,000-5,000             ❑ 25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
      estimate that you owe?                  ✔ 50-99
                                              ❑                 ❑ 5,001-10,000
                                              ❑ 100-199         ❑ 10,001-25,000
                                              ❑ 200-999

  19. How much do you estimate your           ✔ $0-$50,000
                                              ❑                                    ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      assets to be worth?                     ❑ $50,001-$100,000                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                              ❑ $100,001-$500,000                  ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                              ❑ $500,001-$1 million                ❑ $100,000,001-$500 million                ❑ More than $50 billion

  20. How much do you estimate your           ❑ $0-$50,000                         ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      liabilities to be?                      ❑ $50,001-$100,000                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                              ✔ $100,001-$500,000
                                              ❑                                    ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                              ❑ $500,001-$1 million                ❑ $100,000,001-$500 million                ❑ More than $50 billion
 Part 7: Sign Below


  For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                 States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.

                                   ✘ /s/ Nelson Jose Lacruz                                        ✘ /s/ Belinda Benzaquen
                                       Nelson Jose Lacruz, Debtor 1                                    Belinda Benzaquen, Debtor 2
                                       Executed on 09/28/2024                                          Executed on 09/28/2024
                                                        MM/ DD/ YYYY                                                   MM/ DD/ YYYY




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 7
                                 Case 6:24-bk-05255-GER                         Doc 1      Filed 09/28/24             Page 8 of 93

 Debtor 1           Nelson                  Jose                    Lacruz
 Debtor 2           Belinda                                         Benzaquen                                      Case number (if known)
                    First Name              Middle Name             Last Name



   For your attorney, if you are              I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
   represented by one                         proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
                                              each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by
   If you are not represented by an           11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry
   attorney, you do not need to file this     that the information in the schedules filed with the petition is incorrect.
   page.

                                              ✘ /s/ Lewis Roberts                                                    Date 09/28/2024
                                                   Signature of Attorney for Debtor                                        MM / DD / YYYY




                                                   Lewis Roberts
                                                   Printed name

                                                   Lewis Roberts, PA
                                                   Firm name

                                                   999 Douglas Ave #2214
                                                   Number          Street




                                                   Altamonte Springs                                               FL       32714
                                                   City                                                            State   ZIP Code




                                                   Contact phone (407) 749-0080                      Email address lewis@lrlawoffice.com


                                                   0098190                                                         FL
                                                   Bar number                                                      State




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 8
                                  Case 6:24-bk-05255-GER                                    Doc 1            Filed 09/28/24                    Page 9 of 93

 Fill in this information to identify your case and this filing:

  Debtor 1                 Nelson                       Jose                         Lacruz
                           First Name                  Middle Name                  Last Name

  Debtor 2                 Belinda                                                   Benzaquen
  (Spouse, if filing)      First Name                  Middle Name                  Last Name

  United States Bankruptcy Court for the:                          Middle                    District of          Florida

  Case number                                                                                                                                                          ❑ Check if this is an
                                                                                                                                                                         amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ✔ No. Go to Part 2.
        ❑
        ❑ Yes. Where is the property?
                                                                  What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
        1.1                                                       ❑ Single-family home                                                  the amount of any secured claims on Schedule D:
                Street address, if available, or other            ❑ Duplex or multi-unit building                                       Creditors Who Have Claims Secured by Property.
                description                                       ❑ Condominium or cooperative                                         Current value of the            Current value of the
                                                                  ❑ Manufactured or mobile home                                        entire property?                portion you own?
                                                                  ❑ Land
                                                                  ❑ Investment property
                City               State         ZIP Code
                                                                  ❑ Timeshare                                                          Describe the nature of your ownership interest
                                                                  ❑ Other                                                              (such as fee simple, tenancy by the entireties, or
                                                                  Who has an interest in the property? Check one.                      a life estate), if known.
                County
                                                                  ❑ Debtor 1 only
                                                                  ❑ Debtor 2 only                                                      ❑ Check if this is community property
                                                                  ❑ Debtor 1 and Debtor 2 only                                              (see instructions)
                                                                  ❑ At least one of the debtors and another
                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:



                                                                                                                                                                   ➔
 2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
        you have attached for Part 1. Write that number here ...................................................................................................
                                                                                                                                                                                      $0.00



  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3.        Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           ❑ No
           ✔ Yes
           ❑



Official Form 106A/B                                                                Schedule A/B: Property                                                                             page 1
                               Case 6:24-bk-05255-GER                                     Doc 1            Filed 09/28/24                    Page 10 of 93
Debtor Lacruz, Nelson Jose; Benzaquen, Belinda                                                                              Case number (if known)



       3.1     Make:                           Ford              Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔ Debtor 1 only
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
               Model:                Transit Connect             ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
               Year:                           2020              ❑ At least one of the debtors and another                            entire property?                portion you own?

               Approximate mileage:            48281             ❑ Check if this is community property (see                                         $24,000.00                  $24,000.00
                                                                      instructions)
               Other information:

                VIN: NM0GS9F26L1464265



 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ✔ No
       ❑
       ❑ Yes

       4.1     Make:                                             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
               Model:                                            ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another
               Year:
                                                                                                                                      entire property?                portion you own?
               Other information:
                                                                 ❑ Check if this is community property (see
                                                                      instructions)




                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here ...................................................................................................
                                                                                                                                                                               $24,000.00



  Part 3:          Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                                                    Current value of the
                                                                                                                                                                      portion you own?
                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                      claims or exemptions.

 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                    Dining table with chairs, couch, entertainment center, 4 beds, chest, ottoman,                                                          $350.00
                                            coffee table, 2 desks, dishes, pots, pans

 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                                                            $200.00
                                            3 TV's, 2 computers




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 2
                                  Case 6:24-bk-05255-GER                                         Doc 1              Filed 09/28/24                        Page 11 of 93
Debtor Lacruz, Nelson Jose; Benzaquen, Belinda                                                                                         Case number (if known)



 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                                                             $200.00


 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                                                             $500.00
                                               2 wedding rings, 2 gold chains.


 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                                                               $1.00
                                               1 cat


 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. .............




                                                                                                                                                                              ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here .................................................................................................................................
                                                                                                                                                                                  $1,251.00



  Part 4:            Describe Your Financial Assets




Official Form 106A/B                                                                      Schedule A/B: Property                                                                      page 3
                                    Case 6:24-bk-05255-GER                                                Doc 1               Filed 09/28/24                           Page 12 of 93
Debtor Lacruz, Nelson Jose; Benzaquen, Belinda                                                                                                    Case number (if known)



 Do you own or have any legal or equitable interest in any of the following?                                                                                                                      Current value of the
                                                                                                                                                                                                  portion you own?
                                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                                  claims or exemptions.

 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ✔ No
       ❑
       ❑ Yes ...................................................................................................................................................      Cash: ...................


 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes .....................
       ❑                                                                                      Institution name:

                                                                                               BOA # 6422
                                             17.1. Checking account:                           Account Number: 6422                                                                                               $69.67

                                                                                               BOA business # 7774
                                             17.2. Checking account:                           Account Number: 7774                                                                                                $0.00

                                                                                               BOA business #6878
                                             17.3. Checking account:                           Account Number: 6878                                                                                             ($18.53)

                                                                                               Cap One # 6438
                                             17.4. Checking account:                           Account Number: 6438                                                                                               $55.76

                                                                                               Truist -LaCruz Living -business # 1772
                                             17.5. Checking account:                           Account Number: 1772                                                                                           $1,600.00


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ❑ No
       ✔ Yes .....................
       ❑                                    Institution or issuer name:

                                              Charles Schwab #6529                                                                                                                                            $5,714.00

                                              Robinhood Crypto #6230                                                                                                                                               $0.00


 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them....................        Name of entity:                                                                                                        % of ownership:




Official Form 106A/B                                                                              Schedule A/B: Property                                                                                          page 4
                                Case 6:24-bk-05255-GER                              Doc 1     Filed 09/28/24      Page 13 of 93
Debtor Lacruz, Nelson Jose; Benzaquen, Belinda                                                        Case number (if known)



 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about
           them....................   Issuer name:




 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ✔ No
       ❑
       ❑ Yes. List each
           account separately. Type of account:                 Institution name:

                                      401(k) or similar plan:

                                      Pension plan:

                                      IRA:

                                      Retirement account:

                                      Keogh:

                                      Additional account:

                                      Additional account:


 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ✔ No
       ❑
       ❑ Yes ......................                         Institution name or individual:

                                      Electric:

                                      Gas:

                                      Heating oil:

                                      Security deposit on rental unit:

                                      Prepaid rent:

                                      Telephone:

                                      Water:

                                      Rented furniture:

                                      Other:



Official Form 106A/B                                                       Schedule A/B: Property                                     page 5
                               Case 6:24-bk-05255-GER                         Doc 1         Filed 09/28/24              Page 14 of 93
Debtor Lacruz, Nelson Jose; Benzaquen, Belinda                                                            Case number (if known)



 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes .....................   Issuer name and description:




 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔ No
       ❑
       ❑ Yes .....................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...


 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes. Give specific information about
                 them, including whether you                                                                        Federal:
                 already filed the returns and
                 the tax years. ...................                                                                 State:

                                                                                                                    Local:




Official Form 106A/B                                                     Schedule A/B: Property                                                           page 6
                            Case 6:24-bk-05255-GER                          Doc 1          Filed 09/28/24              Page 15 of 93
Debtor Lacruz, Nelson Jose; Benzaquen, Belinda                                                           Case number (if known)



 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........
                                                                                                                   Alimony:

                                                                                                                   Maintenance:

                                                                                                                   Support:

                                                                                                                   Divorce settlement:

                                                                                                                   Property settlement:


 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ✔ No
       ❑
       ❑ Yes. Name the insurance company
                of each policy and list its value. ...   Company name:                             Beneficiary:                           Surrender or refund value:




 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............




Official Form 106A/B                                                   Schedule A/B: Property                                                                 page 7
                                  Case 6:24-bk-05255-GER                                         Doc 1              Filed 09/28/24                        Page 16 of 93
Debtor Lacruz, Nelson Jose; Benzaquen, Belinda                                                                                         Case number (if known)



 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........



                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here .................................................................................................................................
                                                                                                                                                                                             $7,420.90



  Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ✔ No. Go to Part 6.
       ❑
       ❑ Yes. Go to line 38.
                                                                                                                                                                                  Current value of the
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
                 electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe .......
                                         Name of entity:                                                                                            % of ownership:




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                  page 8
                                  Case 6:24-bk-05255-GER                                         Doc 1              Filed 09/28/24                        Page 17 of 93
Debtor Lacruz, Nelson Jose; Benzaquen, Belinda                                                                                         Case number (if known)



 43.   Customer lists, mailing lists, or other compilations

       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                   ❑ No
                   ❑ Yes. Describe. .........


 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information .........




                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here .................................................................................................................................
                                                                                                                                                                                                 $0.00



  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.
 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔ No. Go to Part 7.
       ❑
       ❑ Yes. Go to line 47.
                                                                                                                                                                                  Current value of the
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.

 47.   Farm animals
       Examples: Livestock, poultry, farm-raised fish

       ✔ No
       ❑
       ❑ Yes ..........................


 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                  page 9
                                   Case 6:24-bk-05255-GER                                            Doc 1              Filed 09/28/24                         Page 18 of 93
Debtor Lacruz, Nelson Jose; Benzaquen, Belinda                                                                                             Case number (if known)



 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes ..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes ..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




                                                                                                                                                                                ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here .................................................................................................................................
                                                                                                                                                                                                $0.00



  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                                  ➔               $0.00


  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔           $0.00


 56.   Part 2: Total vehicles, line 5                                                                              $24,000.00

 57.   Part 3: Total personal and household items, line 15                                                           $1,251.00

 58.   Part 4: Total financial assets, line 36                                                                       $7,420.90

 59.   Part 5: Total business-related property, line 45                                                                     $0.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                                            $0.00

 61.   Part 7: Total other property not listed, line 54                                            +                        $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                                           $32,671.90              Copy personal property total             ➔   +   $32,671.90




Official Form 106A/B                                                                         Schedule A/B: Property                                                                             page 10
                               Case 6:24-bk-05255-GER                                    Doc 1             Filed 09/28/24                    Page 19 of 93
Debtor Lacruz, Nelson Jose; Benzaquen, Belinda                                                                             Case number (if known)




 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................   $32,671.90




Official Form 106A/B                                                               Schedule A/B: Property                                                            page 11
                                Case 6:24-bk-05255-GER                      Doc 1           Filed 09/28/24           Page 20 of 93
 Fill in this information to identify your case:

  Debtor 1            Nelson                  Jose                  Lacruz
                      First Name             Middle Name           Last Name

  Debtor 2            Belinda                                       Benzaquen
  (Spouse, if filing) First Name             Middle Name           Last Name

  United States Bankruptcy Court for the:                Middle               District of       Florida

  Case number
  (if known)                                                                                                                            ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                             04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out
and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific
dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable
statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited
in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount
and the value of the property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.

      Part 1:     Identify the Property You Claim as Exempt


 1.    Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
       ❑
       ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2.    For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

       Brief description of the property and         Current value of the      Amount of the exemption you claim             Specific laws that allow exemption
       line on Schedule A/B that lists this          portion you own
       property                                                                Check only one box for each exemption.
                                                     Copy the value from
                                                     Schedule A/B

       Brief             2020 Ford Transit                  $24,000.00         ✔
                                                                               ❑            $5,000.00                        Fla. Stat. Ann. § 222.25(1)
       description:      Connect
                                                                               ❑ 100% of fair market value, up to
                         VIN:                                                       any applicable statutory limit

                                                                               ✔
                         NM0GS9F26L1464265
                                                                               ❑            $1,590.00                        Fla. Stat. Ann. § 222.25(4)
                                                                               ❑ 100% of fair market value, up to
       Line from
       Schedule A/B:        3.1
                                                                                    any applicable statutory limit

 3.    Are you claiming a homestead exemption of more than $189,050?
       (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

       ✔ No
       ❑
       ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                              page 1 of 3
                              Case 6:24-bk-05255-GER                     Doc 1     Filed 09/28/24                Page 21 of 93
Debtor 1            Nelson                 Jose                Lacruz                         Case number (if known)
Debtor 2            Belinda                                    Benzaquen
                First Name                Middle Name         Last Name



   Part 2:      Additional Page

     Brief description of the property and        Current value of the    Amount of the exemption you claim            Specific laws that allow exemption
     line on Schedule A/B that lists this         portion you own
     property                                                             Check only one box for each exemption.
                                                  Copy the value from
                                                  Schedule A/B

     Brief              Dining table with                    $350.00
     description:       chairs, couch,
                        entertainment
                        center, 4 beds,
                        chest, ottoman,
                        coffee table, 2
                        desks, dishes,
                        pots, pans                                        ✔
                                                                          ❑         $350.00                            Fla. Const. art. X, § 4(a)(2)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:            6                                               any applicable statutory limit

     Brief              3 TV's, 2                            $200.00
                                                                          ✔
     description:       computers                                         ❑         $200.00                            Fla. Const. art. X, § 4(a)(2)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:            7                                               any applicable statutory limit

     Brief              Clothes                              $200.00
     description:                                                         ✔
                                                                          ❑         $200.00                            Fla. Const. art. X, § 4(a)(2)
     Line from                                                            ❑   100% of fair market value, up to
     Schedule A/B:           11                                               any applicable statutory limit

     Brief              2 wedding rings, 2                   $500.00
                                                                          ✔
     description:       gold chains.                                      ❑         $500.00                            Fla. Stat. Ann. § 222.25(4)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:           12                                               any applicable statutory limit

     Brief              1 cat                                  $1.00
     description:                                                         ✔
                                                                          ❑          $1.00                             Fla. Const. art. X, § 4(a)(2)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:           13                                               any applicable statutory limit

     Brief              BOA # 6422                            $69.67
     description:       Checking account
                        Acct. No.: 6422                                   ✔
                                                                          ❑          $69.67                            Fla. Stat. Ann. § 222.25(4)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:           17                                               any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                        page 2 of 3
                              Case 6:24-bk-05255-GER                     Doc 1     Filed 09/28/24              Page 22 of 93
Debtor 1            Nelson                 Jose                Lacruz                         Case number (if known)
Debtor 2            Belinda                                    Benzaquen
                First Name                Middle Name         Last Name



   Part 2:      Additional Page

     Brief description of the property and        Current value of the    Amount of the exemption you claim            Specific laws that allow exemption
     line on Schedule A/B that lists this         portion you own
     property                                                             Check only one box for each exemption.
                                                  Copy the value from
                                                  Schedule A/B

     Brief              Cap One # 6438                        $55.76
     description:       Checking account
                        Acct. No.: 6438                                   ✔
                                                                          ❑          $55.76                            Fla. Const. art. X, § 4(a)(2)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:           17                                               any applicable statutory limit

     Brief              Truist -LaCruz                     $1,600.00
     description:       Living -business #
                        1772
                        Checking account
                        Acct. No.: 1772                                   ✔
                                                                          ❑        $1,193.24                           Fla. Const. art. X, § 4(a)(2)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:           17                                               any applicable statutory limit

     Brief              Charles Schwab                     $5,714.00      ✔
                                                                          ❑        $5,714.00                           Fla. Stat. Ann. § 222.25(4)
     description:       #6529
                                                                          ❑ 100% of fair market value, up to
                                                                              any applicable statutory limit
     Line from
     Schedule A/B:           18                                           ✔
                                                                          ❑          $0.00                             Fla. Const. art. X, § 4(a)(2)
                                                                          ❑ 100% of fair market value, up to
                                                                              any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                        page 3 of 3
                                  Case 6:24-bk-05255-GER                      Doc 1           Filed 09/28/24                Page 23 of 93
 Fill in this information to identify your case:

     Debtor 1           Nelson                 Jose                   Lacruz
                        First Name             Middle Name           Last Name

     Debtor 2           Belinda                                       Benzaquen
     (Spouse, if filing) First Name            Middle Name           Last Name

     United States Bankruptcy Court for the:               Middle               District of         Florida

     Case number (if
     known)                                                                                                                                    ❑ Check if this is an
                                                                                                                                                    amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
name and case number (if known).
1.     Do any creditors have claims secured by your property?
       ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List All Secured Claims

 2.      List all secured claims. If a creditor has more than one secured claim, list the creditor              Column A               Column B              Column C
         separately for each claim. If more than one creditor has a particular claim, list the other            Amount of claim        Value of collateral   Unsecured
         creditors in Part 2. As much as possible, list the claims in alphabetical order according to the       Do not deduct the
                                                                                                                                       that supports this    portion
         creditor’s name.                                                                                       value of collateral.
                                                                                                                                       claim                 If any

     2.1 ALLY FINANCIAL                                Describe the property that secures the claim:                   $17,410.00             $24,000.00              $0.00
         Creditor’s Name
                                                       2020 Ford Transit Connect
          200 RENAISSANCE CTR # B0
         Number          Street
                                                       As of the date you file, the claim is: Check all that apply.
                                                       ❑ Contingent
          DETROIT, MI 48243                            ❑ Unliquidated
         City               State       ZIP Code       ❑ Disputed
         Who owes the debt? Check one.                 Nature of lien. Check all that apply.
         ✔ Debtor 1 only
         ❑                                             ❑ An agreement you made (such as mortgage or secured car loan)
         ❑ Debtor 2 only                               ❑ Statutory lien (such as tax lien, mechanic’s lien)
         ❑ Debtor 1 and Debtor 2 only                  ❑ Judgment lien from a lawsuit
         ❑ At least one of the debtors and             ❑ Other (including a right to
              another                                      offset)
         ❑ Check if this claim relates to a
              community debt
         Date debt was incurred        5/31/2023       Last 4 digits of account number          1     2     9   1

         Add the dollar value of your entries in Column A on this page. Write that number here:                       $17,410.00




Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 1
                              Case 6:24-bk-05255-GER                          Doc 1            Filed 09/28/24           Page 24 of 93
 Fill in this information to identify your case:

  Debtor 1            Nelson                  Jose                    Lacruz
                     First Name              Middle Name              Last Name

  Debtor 2            Belinda                                         Benzaquen
  (Spouse, if filing) First Name             Middle Name              Last Name

  United States Bankruptcy Court for the:                 Middle                District of       Florida

  Case number
  (if known)                                                                                                                                  ❑ Check if this is an
                                                                                                                                                   amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official
Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured
claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out,
number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case
number (if known).

      Part 1:      List All of Your PRIORITY Unsecured Claims

 1.     Do any creditors have priority unsecured claims against you?
        ✔ No. Go to Part 2.
        ❑
        ❑ Yes.
      Part 2:      List All of Your NONPRIORITY Unsecured Claims

 3.     Do any creditors have nonpriority unsecured claims against you?
        ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        ✔ Yes
        ❑
 4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
        nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
        included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
        claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
  4.1 AFFIRM INC                                                         Last 4 digits of account number           T    6    X    X                            unknown
         Nonpriority Creditor’s Name
                                                                         When was the debt incurred?                   1/21/2020
         650 CALIFORNIA ST FL 12
         Number              Street
                                                                         As of the date you file, the claim is: Check all that apply.

         SAN FRANCISCO, CA 94108
                                                                         ❑ Contingent
         City                      State                   ZIP Code
                                                                         ❑ Unliquidated
                                                                         ❑ Disputed
         Who incurred the debt? Check one.
         ✔ Debtor 1 only
         ❑
                                                                         Type of NONPRIORITY unsecured claim:

         ❑ Debtor 2 only                                                 ❑ Student loans
         ❑ Debtor 1 and Debtor 2 only                                    ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                             priority claims
         ❑ At least one of the debtors and another                       ❑ Debts to pension or profit-sharing plans, and other similar debts
         ❑ Check if this claim is for a community debt                   ✔ Other. Specify Unsecured
                                                                         ❑
         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 27
                          Case 6:24-bk-05255-GER                     Doc 1             Filed 09/28/24         Page 25 of 93
Debtor 1        Nelson                  Jose                Lacruz                          Case number (if known)
Debtor 2        Belinda                                     Benzaquen
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.2 AFFIRM INC                                                 Last 4 digits of account number        K     8   X     X                        unknown
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 7/6/2020
       650 CALIFORNIA ST FL 12
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       SAN FRANCISCO, CA 94108
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Unsecured
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.3 ALLY CREDIT CARD/CWS                                       Last 4 digits of account number         5    6   0     1                        $4,320.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 6/14/2019
       1000 N WEST ST FL 11
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       WILMINGTON, DE 19801
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2 of 27
                          Case 6:24-bk-05255-GER                     Doc 1             Filed 09/28/24          Page 26 of 93
Debtor 1        Nelson                  Jose                Lacruz                          Case number (if known)
Debtor 2        Belinda                                     Benzaquen
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.4 ALLY CREDIT CARD/CWS                                       Last 4 digits of account number         3    3   7    0                         $2,209.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 6/14/2019
       1000 N WEST ST FL 11
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       WILMINGTON, DE 19801
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.5 AMEX                                                       Last 4 digits of account number        X     X   X    X                              $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 10/21/2008
       PO BOX 297871
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       FORT LAUDERDALE, FL 33329
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 3 of 27
                          Case 6:24-bk-05255-GER                     Doc 1             Filed 09/28/24          Page 27 of 93
Debtor 1        Nelson                  Jose                Lacruz                          Case number (if known)
Debtor 2        Belinda                                     Benzaquen
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.6 APPLE CARD/GS BANK USA                                     Last 4 digits of account number         4    9   2    0                         $6,732.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/7/2021
       LOCKBOX 6112 PO BOX 7247
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       PHILADELPHIA, PA 19170
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.7 APPLE CARD/GS BANK USA                                     Last 4 digits of account number         0    0   9    8                         $1,527.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 10/28/2020
       LOCKBOX 6112 PO BOX 7247
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       PHILADELPHIA, PA 19170
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 4 of 27
                          Case 6:24-bk-05255-GER                     Doc 1             Filed 09/28/24         Page 28 of 93
Debtor 1        Nelson                  Jose                Lacruz                          Case number (if known)
Debtor 2        Belinda                                     Benzaquen
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.8 BANK OF AMERICA                                            Last 4 digits of account number         1    2   7    3                         $1,836.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 6/21/2018
       PO BOX 982238
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       EL PASO, TX 79998
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.9 BANK OF AMERICA                                            Last 4 digits of account number         2    6   6    8                         $1,426.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 1/18/2019
       PO BOX 982238
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       EL PASO, TX 79998
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 5 of 27
                          Case 6:24-bk-05255-GER                     Doc 1             Filed 09/28/24          Page 29 of 93
Debtor 1        Nelson                  Jose                Lacruz                          Case number (if known)
Debtor 2        Belinda                                     Benzaquen
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.10 BARCLAYS BANK DELAWARE                                     Last 4 digits of account number         7    4   8    4                         $2,006.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 4/23/2020
       PO BOX 8803
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       WILMINGTON, DE 19899
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.11 BEST EGG/MARLETTE SE                                       Last 4 digits of account number         5    4   2    9                           $996.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/21/2022
       3419 SILVERSIDE RD
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       WILMINGTON, DE 19810
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 6 of 27
                          Case 6:24-bk-05255-GER                     Doc 1             Filed 09/28/24          Page 30 of 93
Debtor 1        Nelson                  Jose                Lacruz                          Case number (if known)
Debtor 2        Belinda                                     Benzaquen
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.12 Business Card                                              Last 4 digits of account number         2    0   9    4                         $7,276.79
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       PO Box 15796
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Wilmington, DE 19886
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                            ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.13 CAPITAL ONE BANK USA                                       Last 4 digits of account number         0    3   9    2                         $7,835.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/30/2021
       PO BOX 31293
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       SALT LAKE CITY, UT 84131
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify BusinessCreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 7 of 27
                          Case 6:24-bk-05255-GER                     Doc 1             Filed 09/28/24          Page 31 of 93
Debtor 1        Nelson                  Jose                Lacruz                          Case number (if known)
Debtor 2        Belinda                                     Benzaquen
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.14 CAPITAL ONE BANK USA                                       Last 4 digits of account number         4    1   1      8                       $7,627.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 10/28/2018
       PO BOX 31293
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       SALT LAKE CITY, UT 84131
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.15 CAPITAL ONE BANK USA                                       Last 4 digits of account number         1    7   7      2                       $5,447.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                  4/6/2019
       PO BOX 31293
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       SALT LAKE CITY, UT 84131
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 8 of 27
                          Case 6:24-bk-05255-GER                     Doc 1             Filed 09/28/24          Page 32 of 93
Debtor 1        Nelson                  Jose                Lacruz                          Case number (if known)
Debtor 2        Belinda                                     Benzaquen
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.16 CAPITAL ONE BANK USA                                       Last 4 digits of account number         1    4   0    5                         $4,348.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 10/28/2018
       PO BOX 31293
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       SALT LAKE CITY, UT 84131
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.17 CAPITAL ONE BANK USA                                       Last 4 digits of account number         2    6   5    1                         $2,240.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 9/30/2020
       PO BOX 31293
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       SALT LAKE CITY, UT 84131
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 9 of 27
                          Case 6:24-bk-05255-GER                     Doc 1             Filed 09/28/24         Page 33 of 93
Debtor 1        Nelson                  Jose                Lacruz                          Case number (if known)
Debtor 2        Belinda                                     Benzaquen
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.18 CAPITAL ONE BANK USA                                       Last 4 digits of account number         7    4   8    2                         $1,140.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 10/3/2022
       PO BOX 31293
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       SALT LAKE CITY, UT 84131
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.19 CAPITAL ONE BANK USA                                       Last 4 digits of account number         8    7   1    4                         $1,013.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/8/2022
       PO BOX 31293
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       SALT LAKE CITY, UT 84131
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 10 of 27
                          Case 6:24-bk-05255-GER                     Doc 1             Filed 09/28/24         Page 34 of 93
Debtor 1        Nelson                  Jose                Lacruz                          Case number (if known)
Debtor 2        Belinda                                     Benzaquen
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.20 COMENITY BANK/EXPRESS                                      Last 4 digits of account number         7    1   5    1                              $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 5/29/2011
       PO BOX 182789
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       COLUMBUS, OH 43218
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.21 COMENITYBANK/VICTORIA                                      Last 4 digits of account number         7    5   8    8                              $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 12/6/2007
       PO BOX 182789
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       COLUMBUS, OH 43218
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 11 of 27
                          Case 6:24-bk-05255-GER                     Doc 1             Filed 09/28/24         Page 35 of 93
Debtor 1        Nelson                  Jose                Lacruz                          Case number (if known)
Debtor 2        Belinda                                     Benzaquen
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.22 COMENITYCB/DAVIDSBRIDE                                     Last 4 digits of account number         6    1   6    0                              $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 4/21/2011
       PO BOX 182120
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       COLUMBUS, OH 43218
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.23 COMENITYCB/LENDINGCLUB                                     Last 4 digits of account number         9    0   7    4                         $1,556.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 6/16/2022
       PO BOX 182120
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       COLUMBUS, OH 43218
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 12 of 27
                          Case 6:24-bk-05255-GER                       Doc 1            Filed 09/28/24         Page 36 of 93
Debtor 1        Nelson                  Jose                 Lacruz                          Case number (if known)
Debtor 2        Belinda                                      Benzaquen
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.24 DEFI/TMCC/MAZDA FIN SV                                      Last 4 digits of account number         9    1   2     7                        $12,936.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 6/9/2024
      6565 HEADQUARTERS DR
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      PLANO, TX 75024
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify AutoLease
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.25 DEFI/TMCC/MAZDA FIN SV                                      Last 4 digits of account number         6    5   4     4                           $357.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 8/27/2021
      6565 HEADQUARTERS DR
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      PLANO, TX 75024
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify AutoLease
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 13 of 27
                          Case 6:24-bk-05255-GER                     Doc 1             Filed 09/28/24         Page 37 of 93
Debtor 1        Nelson                  Jose                Lacruz                          Case number (if known)
Debtor 2        Belinda                                     Benzaquen
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.26 DEFI/TMCC/MAZDA FIN SV                                     Last 4 digits of account number         5    2   9    2                              $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 5/17/2023
       6565 HEADQUARTERS DR
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       PLANO, TX 75024
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify AutoLease
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.27 DEFI/TMCC/MAZDA FIN SV                                     Last 4 digits of account number         3    3   9    4                              $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 2/18/2021
       6565 HEADQUARTERS DR
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       PLANO, TX 75024
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify AutoLease
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 14 of 27
                          Case 6:24-bk-05255-GER                       Doc 1            Filed 09/28/24         Page 38 of 93
Debtor 1        Nelson                  Jose                 Lacruz                          Case number (if known)
Debtor 2        Belinda                                      Benzaquen
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.28 DISCOVER BANK                                               Last 4 digits of account number         8    1   9    3                         $12,238.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 4/14/2022
      PO BOX 30939
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      SALT LAKE CITY, UT 84130
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.29 FORD MOTOR CREDIT COMP                                      Last 4 digits of account number         8    9   9    6                               $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 7/27/2020
      PO BOX 542000
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      OMAHA, NE 68154
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify AutoLease
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 15 of 27
                          Case 6:24-bk-05255-GER                     Doc 1             Filed 09/28/24          Page 39 of 93
Debtor 1        Nelson                  Jose                Lacruz                          Case number (if known)
Debtor 2        Belinda                                     Benzaquen
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.30 HYUNDAI CAPITAL AMERIC                                     Last 4 digits of account number         3    6   1    6                              $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 10/5/2012
       4000 MACARTHUR BLVD STE
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       NEWPORT BEACH, CA 92660
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify AutoLease
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.31 JPMCB AUTO FINANCE                                         Last 4 digits of account number         1    9   1    9                              $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 10/24/2018
       PO BOX 901003
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       FORT WORTH, TX 76101
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify AutoLease
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 16 of 27
                          Case 6:24-bk-05255-GER                     Doc 1             Filed 09/28/24         Page 40 of 93
Debtor 1        Nelson                  Jose                Lacruz                          Case number (if known)
Debtor 2        Belinda                                     Benzaquen
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.32 LOANCARE SERVICING C                                       Last 4 digits of account number         2    8   4    6                              $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 5/30/2014
       3637 SENTARA WAY
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       VIRGINIA BEACH, VA 23452
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify FHARealEstateMortgage
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.33 NOVO                                                       Last 4 digits of account number         7    1   6    4                         unknown
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       c/o Middlesex Federal
       1 College
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Somerville, MA 02144
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
                                                                 ❑ Student loans
      ❑ Debtor 2 only
      ✔ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑                                                              priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 17 of 27
                          Case 6:24-bk-05255-GER                     Doc 1             Filed 09/28/24         Page 41 of 93
Debtor 1        Nelson                  Jose                Lacruz                          Case number (if known)
Debtor 2        Belinda                                     Benzaquen
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.34 PREFERRED CREDIT INC                                       Last 4 digits of account number         5    0   0    0                         $2,877.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 2/27/2023
       628 ROOSEVELT RD
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       SAINT CLOUD, MN 56301
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.35 RENT SELFREPORTED                                          Last 4 digits of account number        X    X    X    X                              $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 9/12/2022
       PO BOX 4500
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       ALLEN, TX 75013
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify RentalAgreement
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 18 of 27
                          Case 6:24-bk-05255-GER                     Doc 1             Filed 09/28/24         Page 42 of 93
Debtor 1        Nelson                  Jose                Lacruz                          Case number (if known)
Debtor 2        Belinda                                     Benzaquen
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.36 SIREN WSFS UNICORN                                         Last 4 digits of account number         2    7   1     2                             $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 7/8/2023
       PO BOX 63688
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       PHILADELPHIA, PA 19147
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.37 SYNCB/AMAZON PLCC                                          Last 4 digits of account number         4    0   2     6                        $3,272.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/5/2021
       PO BOX 965015
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       ORLANDO, FL 32896
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 19 of 27
                          Case 6:24-bk-05255-GER                     Doc 1             Filed 09/28/24         Page 43 of 93
Debtor 1        Nelson                  Jose                Lacruz                          Case number (if known)
Debtor 2        Belinda                                     Benzaquen
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.38 SYNCB/AMAZON PLCC                                          Last 4 digits of account number         5    7   2    0                         $2,503.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/5/2021
       PO BOX 965015
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       ORLANDO, FL 32896
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.39 SYNCB/CITY FURNITURE                                       Last 4 digits of account number         3    6   1    7                         $1,719.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 9/20/2022
       C/O PO BOX 965036
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       ORLANDO, FL 32896
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 20 of 27
                          Case 6:24-bk-05255-GER                     Doc 1             Filed 09/28/24          Page 44 of 93
Debtor 1        Nelson                  Jose                Lacruz                          Case number (if known)
Debtor 2        Belinda                                     Benzaquen
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.40 SYNCB/PPC                                                  Last 4 digits of account number         6    1   6    2                              $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 10/21/2020
       PO BOX 530975
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       ORLANDO, FL 32896
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.41 SYNCB/ROOMS TO GO                                          Last 4 digits of account number         3    4   2    0                              $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 9/16/2022
       PO BOX 965036
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       ORLANDO, FL 32896
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 21 of 27
                          Case 6:24-bk-05255-GER                     Doc 1             Filed 09/28/24          Page 45 of 93
Debtor 1        Nelson                  Jose                Lacruz                          Case number (if known)
Debtor 2        Belinda                                     Benzaquen
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.42 SYNCB/SAMS CLUB                                            Last 4 digits of account number         1    0   2    5                         $1,537.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 1/27/2023
       PO BOX 965005
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       ORLANDO, FL 32896
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.43 SYNCB/SAMS CLUB                                            Last 4 digits of account number         1    7   2    4                         $1,219.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 10/16/2022
       PO BOX 965005
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       ORLANDO, FL 32896
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 22 of 27
                          Case 6:24-bk-05255-GER                     Doc 1             Filed 09/28/24         Page 46 of 93
Debtor 1        Nelson                  Jose                Lacruz                          Case number (if known)
Debtor 2        Belinda                                     Benzaquen
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.44 SYNCB/SLEEPYS                                              Last 4 digits of account number         5    6   5    5                              $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 6/18/2007
       C/O P.O. BOX 965036
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       ORLANDO, FL 328965036
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.45 SYNCB/VENMO                                                Last 4 digits of account number         4    3   8    4                         $3,004.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 7/15/2022
       PO BOX 965015
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       ORLANDO, FL 32896
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 23 of 27
                          Case 6:24-bk-05255-GER                     Doc 1             Filed 09/28/24         Page 47 of 93
Debtor 1        Nelson                  Jose                Lacruz                          Case number (if known)
Debtor 2        Belinda                                     Benzaquen
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.46 TELECOM SELFREPORTED                                       Last 4 digits of account number        X    X    X     X                          $176.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 2/9/2023
       PO BOX 4500
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       ALLEN, TX 75013
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify MobilePhone
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.47 THD/CBNA                                                   Last 4 digits of account number         4    2   6     6                             $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 3/13/2019
       PO BOX 6497
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       SIOUX FALLS, SD 57117
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 24 of 27
                          Case 6:24-bk-05255-GER                     Doc 1             Filed 09/28/24          Page 48 of 93
Debtor 1        Nelson                  Jose                Lacruz                          Case number (if known)
Debtor 2        Belinda                                     Benzaquen
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.48 UPGRADE INC                                                Last 4 digits of account number         3    4   7      9                       $2,377.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                  6/2/2022
       275 BATTERY ST FL 23
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       SAN FRANCISCO, CA 94111
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify LineOfCredit
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.49 UPLIFT/CELTIC BANK                                         Last 4 digits of account number         8    8   2      8                            $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 12/21/2023
       440 N WOLFE RD
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       SUNNYVALE, CA 94085
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Unsecured
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 25 of 27
                          Case 6:24-bk-05255-GER                     Doc 1             Filed 09/28/24         Page 49 of 93
Debtor 1        Nelson                  Jose                Lacruz                          Case number (if known)
Debtor 2        Belinda                                     Benzaquen
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.50 WFFNB/RAYMOUR & FLAN                                       Last 4 digits of account number         7    7   2     3                             $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 5/8/2012
       PO BOX 393
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       MINNEAPOLIS, MN 55480
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 26 of 27
                            Case 6:24-bk-05255-GER                         Doc 1    Filed 09/28/24              Page 50 of 93
Debtor 1          Nelson                 Jose                   Lacruz                       Case number (if known)
Debtor 2          Belinda                                       Benzaquen
                  First Name            Middle Name            Last Name

      Part 4:     Add the Amounts for Each Type of Unsecured Claim

 6.     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
        Add the amounts for each type of unsecured claim.



                                                                                                Total claim

 Total claims      6a.   Domestic support obligations                                 6a.                           $0.00
 from Part 1
                   6b.   Taxes and certain other debts you owe the government         6b.                           $0.00

                   6c.   Claims for death or personal injury while you were           6c.                           $0.00
                         intoxicated

                   6d.   Other. Add all other priority unsecured claims.              6d.   +                       $0.00
                         Write that amount here.

                   6e.   Total. Add lines 6a through 6d.                              6e.
                                                                                                                   $0.00



                                                                                                Total claim

 Total claims      6f.   Student loans                                                6f.                           $0.00
 from Part 2
                   6g.   Obligations arising out of a separation agreement or         6g.                           $0.00
                         divorce that you did not report as priority claims

                   6h.   Debts to pension or profit-sharing plans, and other          6h.                           $0.00
                         similar debts

                   6i.   Other. Add all other nonpriority unsecured claims.           6i.   +                 $103,749.79
                         Write that amount here.

                   6j.   Total. Add lines 6f through 6i.                              6j.
                                                                                                           $103,749.79




Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                     page 27 of 27
                                         Case 6:24-bk-05255-GER                    Doc 1       Filed 09/28/24          Page 51 of 93

 Fill in this information to identify your case:

     Debtor 1                       Nelson               Jose               Lacruz
                                    First Name           Middle Name       Last Name

     Debtor 2                       Belinda                                 Benzaquen
     (Spouse, if filing)            First Name           Middle Name       Last Name

     United States Bankruptcy Court for the:                           Middle District of Florida

     Case number                                                                                                                         ❑ Check if this is an
     (if known)                                                                                                                              amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ❑ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
        ❑
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                              State what the contract or lease is for

2.1                                                                                             2023 Mazda CX-9 VIN ending #0952
         Mazda Financial Services
        Name
         PO Box 74689
        Number             Street
         Chicago, IL 60675-4689
        City                                     State   ZIP Code

2.2                                                                                             2024 Mazda CX-30 VIN ending #5177
         Mazda Financial Services
        Name
         PO Box 74689
        Number             Street
         Chicago, IL 60675-4689
        City                                     State   ZIP Code

2.3

        Name

        Number             Street

        City                                     State   ZIP Code

2.4

        Name

        Number             Street

        City                                     State   ZIP Code




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                          page 1 of 1
                             Case 6:24-bk-05255-GER                        Doc 1           Filed 09/28/24           Page 52 of 93
 Fill in this information to identify your case:

  Debtor 1           Nelson                   Jose                  Lacruz
                     First Name              Middle Name            Last Name

  Debtor 2           Belinda                                        Benzaquen
  (Spouse, if filing) First Name             Middle Name            Last Name

  United States Bankruptcy Court for the:                  Middle            District of      Florida

  Case number
  (if known)                                                                                                                              ❑ Check if this is an
                                                                                                                                              amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number
the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if
known). Answer every question.

 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ✔ No
        ❑
        ❑ Yes
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ✔ No. Go to line 3.
        ❑
        ❑ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
          ❑ No
          ❑ Yes. In which community state or territory did you live?                                     . Fill in the name and current address of that person.


                 Name of your spouse, former spouse, or legal equivalent


                 Number                   Street


                 City                              State                        ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line
        2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                         Column 2: The creditor to whom you owe the debt

                                                                                                        Check all schedules that apply:
 3.1
        Name                                                                                            ❑ Schedule D, line
                                                                                                        ❑ Schedule E/F, line
        Number                          Street
                                                                                                        ❑ Schedule G, line
        City                                       State                                   ZIP Code

 3.2
        Name                                                                                            ❑ Schedule D, line
                                                                                                        ❑ Schedule E/F, line
        Number                          Street
                                                                                                        ❑ Schedule G, line
        City                                       State                                   ZIP Code




Official Form 106H                                                    Schedule H: Codebtors                                                            page 1 of 1
                                 Case 6:24-bk-05255-GER                      Doc 1          Filed 09/28/24             Page 53 of 93

 Fill in this information to identify your case:

  Debtor 1                  Nelson                 Jose               Lacruz
                           First Name              Middle Name       Last Name

  Debtor 2                  Belinda                                   Benzaquen
  (Spouse, if filing)      First Name              Middle Name       Last Name                                              Check if this is:

                                                                 Middle District of Florida
                                                                                                                            ❑ An amended filing
                                                                                                                            ❑ A supplement showing postpetition
  United States Bankruptcy Court for the:

  Case number                                                                                                                  chapter 13 income as of the following date:
  (if known)

                                                                                                                               MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                               Debtor 1                                          Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status                       ✔ Not Employed
                                                                          ❑ Employed ❑                                                  ✔ Not Employed
                                                                                                                             ❑ Employed ❑
     attach a separate page with
     information about additional            Occupation
     employers.
                                             Employer's name
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address
     Occupation may include student                                        Number Street                                      Number Street
     or homemaker, if it applies.




                                                                           City                     State   Zip Code          City                State     Zip Code

                                             How long employed there?


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                        For Debtor 1     For Debtor 2 or
                                                                                                                         non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.            2.                $0.00                      $0.00

 3. Estimate and list monthly overtime pay.                                                3.   +            $0.00      +               $0.00


 4. Calculate gross income. Add line 2 + line 3.                                           4.                $0.00                      $0.00




Official Form 106I                                                         Schedule I: Your Income                                                               page 1
                                        Case 6:24-bk-05255-GER                                      Doc 1      Filed 09/28/24         Page 54 of 93

 Debtor 1                 Nelson                       Jose                            Lacruz
 Debtor 2                 Belinda                                                      Benzaquen                                     Case number (if known)
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.               $0.00                    $0.00
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.              $0.00                    $0.00
       5b. Mandatory contributions for retirement plans                                                        5b.              $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                        5c.              $0.00                    $0.00
       5d. Required repayments of retirement fund loans                                                        5d.              $0.00                    $0.00
       5e. Insurance                                                                                           5e.              $0.00                    $0.00
       5f. Domestic support obligations                                                                        5f.              $0.00                    $0.00
       5g. Union dues                                                                                          5g.              $0.00                    $0.00
       5h. Other deductions. Specify:                                                                          5h. +            $0.00         +          $0.00
 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.               $0.00                    $0.00
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.               $0.00                    $0.00
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.            $690.91               $1,929.63
       8b. Interest and dividends                                                                              8b.              $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.              $0.00                    $0.00
       8d. Unemployment compensation                                                                           8d.              $0.00                    $0.00
       8e. Social Security                                                                                     8e.              $0.00                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.

            Specify:                                                                                           8f.              $0.00                    $0.00
       8g. Pension or retirement income                                                                        8g.              $0.00                    $0.00
       8h. Other monthly income. Specify:                                                                      8h.   +          $0.00         +          $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.             $690.91                $1,929.63
 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.            $690.91     +          $1,929.63          =         $2,620.54

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.            $2,620.54
                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:
Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
                                  Case 6:24-bk-05255-GER               Doc 1       Filed 09/28/24    Page 55 of 93

 Debtor 1            Nelson             Jose                  Lacruz
 Debtor 2            Belinda                                  Benzaquen                             Case number (if known)
                     First Name         Middle Name           Last Name


   8a. Attached Statement
                                             ALPS business - see P&L Nelson is 100% owner
   FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
   PART A - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
       1.   Gross Monthly Income:                                                                                               ($1,030.39)
   PART B - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:
       2.   Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
            Business Debts
            TOTAL PAYMENTS TO SECURED CREDITORS                                                                         $0.00

       3.   Other Expenses
            TOTAL OTHER EXPENSES                                                                                        $0.00
                                                                                                                                     $0.00
       4.   TOTAL MONTHLY EXPENSES(Add item 2 - 21)
   PART C - ESTIMATED AVERAGE NET MONTHLY INCOME:
       5.   AVERAGE NET MONTHLY INCOME(Subtract item 22 from item 1)                                                            ($1,030.39)




Official Form 106I                                                   Schedule I: Your Income                                          page 3
                                  Case 6:24-bk-05255-GER               Doc 1       Filed 09/28/24    Page 56 of 93

 Debtor 1            Nelson             Jose                  Lacruz
 Debtor 2            Belinda                                  Benzaquen                             Case number (if known)
                     First Name         Middle Name           Last Name


   8a. Attached Statement
                                             Business Income from ALPS - wages paid to self
   FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
   PART A - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
       1.   Gross Monthly Income:                                                                                               $436.67
   PART B - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:
       2.   Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
            Business Debts
            TOTAL PAYMENTS TO SECURED CREDITORS                                                                         $0.00

       3.   Other Expenses
            TOTAL OTHER EXPENSES                                                                                        $0.00
                                                                                                                                  $0.00
       4.   TOTAL MONTHLY EXPENSES(Add item 2 - 21)
   PART C - ESTIMATED AVERAGE NET MONTHLY INCOME:
       5.   AVERAGE NET MONTHLY INCOME(Subtract item 22 from item 1)                                                            $436.67




Official Form 106I                                                   Schedule I: Your Income                                       page 4
                                  Case 6:24-bk-05255-GER               Doc 1       Filed 09/28/24    Page 57 of 93

 Debtor 1            Nelson             Jose                  Lacruz
 Debtor 2            Belinda                                  Benzaquen                             Case number (if known)
                     First Name         Middle Name           Last Name


   8a. Attached Statement
                       Business Income from La Cruz Living- wages paid to self - opened July 16th 2024
   FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
   PART A - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
       1.   Gross Monthly Income:                                                                                               $150.00
   PART B - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:
       2.   Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
            Business Debts
            TOTAL PAYMENTS TO SECURED CREDITORS                                                                         $0.00

       3.   Other Expenses
            TOTAL OTHER EXPENSES                                                                                        $0.00
                                                                                                                                  $0.00
       4.   TOTAL MONTHLY EXPENSES(Add item 2 - 21)
   PART C - ESTIMATED AVERAGE NET MONTHLY INCOME:
       5.   AVERAGE NET MONTHLY INCOME(Subtract item 22 from item 1)                                                            $150.00




Official Form 106I                                                   Schedule I: Your Income                                       page 5
                                  Case 6:24-bk-05255-GER               Doc 1       Filed 09/28/24    Page 58 of 93

 Debtor 1            Nelson             Jose                  Lacruz
 Debtor 2            Belinda                                  Benzaquen                             Case number (if known)
                     First Name          Middle Name          Last Name


   8a. Attached Statement
                                  LaCruz Living Business Income - 50% owner with wife- opened 7/16/24
   FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
   PART A - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
       1.   Gross Monthly Income:                                                                                               $1,134.63
   PART B - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:
       2.   Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
            Business Debts
            TOTAL PAYMENTS TO SECURED CREDITORS                                                                         $0.00

       3.   Other Expenses
            TOTAL OTHER EXPENSES                                                                                        $0.00
                                                                                                                                   $0.00
       4.   TOTAL MONTHLY EXPENSES(Add item 2 - 21)
   PART C - ESTIMATED AVERAGE NET MONTHLY INCOME:
       5.   AVERAGE NET MONTHLY INCOME(Subtract item 22 from item 1)                                                            $1,134.63




Official Form 106I                                                   Schedule I: Your Income                                         page 6
                                  Case 6:24-bk-05255-GER               Doc 1       Filed 09/28/24    Page 59 of 93

 Debtor 1            Nelson             Jose                  Lacruz
 Debtor 2            Belinda                                  Benzaquen                             Case number (if known)
                     First Name         Middle Name           Last Name


   8a. Attached Statement
                                      La Cruz Living Business Income- 50% owner with husband
   FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
   PART A - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
       1.   Gross Monthly Income:                                                                                               $1,134.63
   PART B - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:
       2.   Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
            Business Debts
            TOTAL PAYMENTS TO SECURED CREDITORS                                                                         $0.00

       3.   Other Expenses
            TOTAL OTHER EXPENSES                                                                                        $0.00
                                                                                                                                   $0.00
       4.   TOTAL MONTHLY EXPENSES(Add item 2 - 21)
   PART C - ESTIMATED AVERAGE NET MONTHLY INCOME:
       5.   AVERAGE NET MONTHLY INCOME(Subtract item 22 from item 1)                                                            $1,134.63




Official Form 106I                                                   Schedule I: Your Income                                         page 7
                                  Case 6:24-bk-05255-GER               Doc 1       Filed 09/28/24    Page 60 of 93

 Debtor 1            Nelson             Jose                  Lacruz
 Debtor 2            Belinda                                  Benzaquen                             Case number (if known)
                     First Name         Middle Name           Last Name


   8a. Attached Statement
                             Business Income- wages paid to self from La Cruz Living- opened 7/16/24
   FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
   PART A - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
       1.   Gross Monthly Income:                                                                                               $150.00
   PART B - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:
       2.   Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
            Business Debts
            TOTAL PAYMENTS TO SECURED CREDITORS                                                                         $0.00

       3.   Other Expenses
            TOTAL OTHER EXPENSES                                                                                        $0.00
                                                                                                                                  $0.00
       4.   TOTAL MONTHLY EXPENSES(Add item 2 - 21)
   PART C - ESTIMATED AVERAGE NET MONTHLY INCOME:
       5.   AVERAGE NET MONTHLY INCOME(Subtract item 22 from item 1)                                                            $150.00




Official Form 106I                                                   Schedule I: Your Income                                       page 8
                                  Case 6:24-bk-05255-GER               Doc 1       Filed 09/28/24    Page 61 of 93

 Debtor 1            Nelson             Jose                  Lacruz
 Debtor 2            Belinda                                  Benzaquen                             Case number (if known)
                     First Name         Middle Name           Last Name


   8a. Attached Statement
                                      Business Income- 1099 income from ALPS- husband owns.
   FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
   PART A - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
       1.   Gross Monthly Income:                                                                                               $645.00
   PART B - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:
       2.   Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
            Business Debts
            TOTAL PAYMENTS TO SECURED CREDITORS                                                                         $0.00

       3.   Other Expenses
            TOTAL OTHER EXPENSES                                                                                        $0.00
                                                                                                                                  $0.00
       4.   TOTAL MONTHLY EXPENSES(Add item 2 - 21)
   PART C - ESTIMATED AVERAGE NET MONTHLY INCOME:
       5.   AVERAGE NET MONTHLY INCOME(Subtract item 22 from item 1)                                                            $645.00




Official Form 106I                                                   Schedule I: Your Income                                       page 9
                                  Case 6:24-bk-05255-GER                          Doc 1         Filed 09/28/24         Page 62 of 93

 Fill in this information to identify your case:

  Debtor 1                  Nelson                  Jose                 Lacruz
                                                                                                                 Check if this is:
                           First Name               Middle Name         Last Name
                                                                                                                 ❑ An amended filing
  Debtor 2                  Belinda                                      Benzaquen
  (Spouse, if filing)      First Name               Middle Name         Last Name
                                                                                                                 ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                         Middle District of Florida
                                                                                                                      MM / DD / YYYY
  Case number
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ❑ No. Go to line 2.
     ✔ Yes. Does Debtor 2 live in a separate household?
     ❑
             ✔ No
             ❑
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ❑ No
     Do not list Debtor 1 and                  ✔ Yes. Fill out this information
                                               ❑                                        Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.
                                                                                        Child                               10                       ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Child                               6                        ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Parent                                                       ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Relative                            Aunt                     ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                      4.                $2,150.00

     If not included in line 4:
     4a. Real estate taxes                                                                                                      4a.                     $0.00
     4b. Property, homeowner's, or renter's insurance                                                                           4b.                   $24.00
     4c. Home maintenance, repair, and upkeep expenses                                                                          4c.                   $30.00
     4d. Homeowner's association or condominium dues                                                                            4d.                     $0.00




Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
                                  Case 6:24-bk-05255-GER                    Doc 1     Filed 09/28/24          Page 63 of 93

 Debtor 1            Nelson                 Jose                 Lacruz
 Debtor 2            Belinda                                     Benzaquen                                   Case number (if known)
                     First Name             Middle Name          Last Name


                                                                                                                             Your expenses


 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                        $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                 $285.37
       6b. Water, sewer, garbage collection                                                                        6b.                  $95.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                 $481.00

       6d. Other. Specify:                                                                                         6d.                       $0.00
 7.    Food and housekeeping supplies                                                                              7.                 $1,050.00

 8.    Childcare and children’s education costs                                                                    8.                        $0.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                   $90.00

 10. Personal care products and services                                                                           10.                  $70.00

 11.   Medical and dental expenses                                                                                 11.                  $45.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                 $250.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                 $150.00

 14. Charitable contributions and religious donations                                                              14.                       $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.
       15a. Life insurance                                                                                         15a.                      $0.00
       15b. Health insurance                                                                                       15b.                $200.00
       15c. Vehicle insurance                                                                                      15c.                $500.00

       15d. Other insurance. Specify:                                                                              15d.                      $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                       $0.00

 17. Installment or lease payments:
       17a. Car payments for Vehicle 1 2020 Ford Transit Connect                                                   17a.                $388.00
       17b. Car payments for Vehicle 2                                                                             17b.                $700.37
       17c. Other. Specify: Auto lease- 2024 Mazda CX                                                              17c.                $369.61
       17d. Other. Specify:                                                                                        17d.                      $0.00
 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                       $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                       $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
       20a. Mortgages on other property                                                                            20a.                      $0.00
       20b. Real estate taxes                                                                                      20b.                      $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                      $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                      $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                      $0.00


Official Form 106J                                                          Schedule J: Your Expenses                                                page 2
                                  Case 6:24-bk-05255-GER                Doc 1        Filed 09/28/24          Page 64 of 93

 Debtor 1            Nelson              Jose                  Lacruz
 Debtor 2            Belinda                                   Benzaquen                                    Case number (if known)
                     First Name          Middle Name           Last Name



 21. Other. Specify: Pet care and food                                                                            21.    +             $100.00


 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.                $6,978.35

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                    $0.00
      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.                $6,978.35


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.                $2,620.54

      23b. Copy your monthly expenses from line 22c above.                                                        23b.       –        $6,978.35
      23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                                23c.               ($4,357.81)



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                                 page 3
                                      Case 6:24-bk-05255-GER                                   Doc 1            Filed 09/28/24                    Page 65 of 93

 Fill in this information to identify your case:

  Debtor 1                      Nelson                      Jose                     Lacruz
                               First Name                  Middle Name              Last Name

  Debtor 2                      Belinda                                              Benzaquen
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                    Middle District of Florida

  Case number                                                                                                                                                            ❑ Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                             $0.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                            $32,671.90

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                      $32,671.90



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                               $17,410.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                          $0.00

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                         +          $103,749.79

                                                                                                                                                  Your total liabilities                  $121,159.79

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                    $2,620.54


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                  $6,978.35




Official Form 106Sum                                           Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
                                 Case 6:24-bk-05255-GER                    Doc 1        Filed 09/28/24              Page 66 of 93

Debtor 1            Nelson                Jose                   Lacruz
Debtor 2            Belinda                                      Benzaquen                                         Case number (if known)
                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ✔ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
   ❑
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                     $907.70




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                            $0.00


    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                   $0.00


    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                         $0.00


    9d. Student loans. (Copy line 6f.)                                                                                          $0.00


    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                         $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                  +                   $0.00


    9g. Total. Add lines 9a through 9f.                                                                                        $0.00




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                 page 2 of 2
                                 Case 6:24-bk-05255-GER                      Doc 1       Filed 09/28/24           Page 67 of 93

 Fill in this information to identify your case:

  Debtor 1                  Nelson                 Jose               Lacruz
                            First Name             Middle Name       Last Name

  Debtor 2                  Belinda                                   Benzaquen
  (Spouse, if filing)       First Name             Middle Name       Last Name

  United States Bankruptcy Court for the:                        Middle District of Florida

  Case number                                                                                                                       ❑ Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                              . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                        Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Nelson Jose Lacruz                                             ✘ /s/ Belinda Benzaquen
        Nelson Jose Lacruz, Debtor 1                                        Belinda Benzaquen, Debtor 2


        Date 09/28/2024                                                     Date 09/28/2024
                 MM/ DD/ YYYY                                                     MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                                 Case 6:24-bk-05255-GER                      Doc 1       Filed 09/28/24           Page 68 of 93

 Fill in this information to identify your case:

  Debtor 1                  Nelson                 Jose               Lacruz
                           First Name              Middle Name       Last Name

  Debtor 2                  Belinda                                   Benzaquen
  (Spouse, if filing)      First Name              Middle Name       Last Name

  United States Bankruptcy Court for the:                        Middle District of Florida

  Case number                                                                                                                        ❑ Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                              Dates Debtor 1 lived    Debtor 2:                                             Dates Debtor 2 lived
                                                             there                                                                         there


                                                                                    ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                           From                                                                           From
    Number       Street                                                               Number     Street
                                                           To                                                                             To



    City                            State ZIP Code                                    City                          State ZIP Code



                                                                                    ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                           From                                                                           From
    Number       Street                                                               Number     Street
                                                           To                                                                             To



    City                            State ZIP Code                                    City                          State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 1
                                  Case 6:24-bk-05255-GER                 Doc 1        Filed 09/28/24           Page 69 of 93

Debtor 1            Nelson            Jose                   Lacruz
Debtor 2            Belinda                                  Benzaquen                                       Case number (if known)
                    First Name        Middle Name            Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross Income                Sources of income           Gross Income
                                                Check all that apply.       (before deductions and      Check all that apply.       (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the
                                               ❑ Wages, commissions,                                   ❑ Wages, commissions,
    date you filed for bankruptcy:                  bonuses, tips                                          bonuses, tips
                                               ❑ Operating a business                                  ❑ Operating a business

    For last calendar year:                    ❑ Wages, commissions,                                   ❑ Wages, commissions,
                                                    bonuses, tips                                          bonuses, tips
    (January 1 to December 31, 2023        )
                                    YYYY       ❑ Operating a business                                  ✔ Operating a business
                                                                                                       ❑                                    $27,525.00


    For the calendar year before that:         ❑ Wages, commissions,                                   ❑ Wages, commissions,
                                                    bonuses, tips                                          bonuses, tips
    (January 1 to December 31, 2022        )
                                    YYYY       ❑ Operating a business                                  ✔ Operating a business
                                                                                                       ❑                                    $22,287.00



  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross income from           Sources of income           Gross Income from
                                                Describe below.             each source                 Describe below.             each source
                                                                            (before deductions and                                  (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the
    date you filed for bankruptcy:


    For last calendar year:                     Capital gain/loss                      (2,210.00)
    (January 1 to December 31, 2023        )
                                    YYYY



    For the calendar year before that:          Capital gain/loss                      (2,210.00)
    (January 1 to December 31, 2022        )
                                    YYYY




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 2
                                  Case 6:24-bk-05255-GER                     Doc 1       Filed 09/28/24           Page 70 of 93

Debtor 1            Nelson                  Jose                 Lacruz
Debtor 2            Belinda                                      Benzaquen                                      Case number (if known)
                    First Name              Middle Name          Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑ No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              ❑ No. Go to line 7.
              ❑ Yes.       List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                           paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                           not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔ Yes.
    ❑         Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑ No. Go to line 7.
              ✔ Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
              ❑
                           include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                           an attorney for this bankruptcy case.

                                                            Dates of           Total amount paid         Amount you still owe       Was this payment for…
                                                            payment

             Ally                                           08/15/24                    $1,164.48                $17,410.00        ❑ Mortgage
             Creditor's Name
                                                                                                                                   ✔ Car
                                                                                                                                   ❑
                                                            07/15/24
             Number      Street
                                                                                                                                   ❑ Credit card
                                                            06/15/24                                                               ❑ Loan repayment
             City                   State      ZIP Code
                                                                                                                                   ❑ Suppliers or vendors
                                                                                                                                   ❑ Other

             Mazda Financial Services                       08/26/24                     $2,101.11                         lease   ❑ Mortgage
             Creditor's Name
                                                                                                                                   ✔ Car
                                                                                                                                   ❑
                                                            07/30/24
                                                                                                                                   ❑ Credit card
             PO Box 74689
             Number      Street
                                                            06/30/24                                                               ❑ Loan repayment
             Chicago, IL 60675-4689
             City                   State      ZIP Code                                                                            ❑ Suppliers or vendors
                                                                                                                                   ❑ Other

             Mazda Financial Services                       08/15/24                    $1,108.83                          lease   ❑ Mortgage
             Creditor's Name
                                                                                                                                   ✔ Car
                                                                                                                                   ❑
                                                            07/15/24
                                                                                                                                   ❑ Credit card
             PO Box 74689
             Number      Street
                                                            06/15/24                                                               ❑ Loan repayment
             Chicago, IL 60675-4689
             City                   State      ZIP Code                                                                            ❑ Suppliers or vendors
                                                                                                                                   ❑ Other


  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑ Yes. List all payments to an insider.
Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
                                   Case 6:24-bk-05255-GER                     Doc 1       Filed 09/28/24              Page 71 of 93

Debtor 1             Nelson                Jose                   Lacruz
Debtor 2             Belinda                                      Benzaquen                                       Case number (if known)
                     First Name            Middle Name            Last Name

                                                          Dates of            Total amount paid    Amount you still           Reason for this payment
                                                          payment                                  owe



    Insider's Name


    Number       Street




    City                          State   ZIP Code




  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.
                                                          Dates of            Total amount paid    Amount you still           Reason for this payment
                                                          payment                                  owe                        Include creditor’s name



    Insider's Name


    Number       Street




    City                          State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                     Nature of the case                      Court or agency                                  Status of the case


    Case title                                                                                                                              ❑ Pending
                                                                                            Court Name                                      ❑ On appeal
                                                                                                                                            ❑ Concluded
                                                                                            Number       Street
    Case number

                                                                                            City                      State      ZIP Code




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 4
                                  Case 6:24-bk-05255-GER                       Doc 1        Filed 09/28/24          Page 72 of 93

Debtor 1            Nelson                 Jose                    Lacruz
Debtor 2            Belinda                                        Benzaquen                                      Case number (if known)
                    First Name             Middle Name             Last Name



  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔ No. Go to line 11.
    ❑
    ❑ Yes. Fill in the information below.
                                                                    Describe the property                                Date               Value of the property



    Creditor’s Name



    Number     Street                                               Explain what happened

                                                                   ❑ Property was repossessed.
                                                                   ❑ Property was foreclosed.
                                                                   ❑ Property was garnished.
    City                           State    ZIP Code               ❑ Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                            Describe the action the creditor took                      Date action was     Amount
                                                                                                                       taken
    Creditor’s Name



    Number     Street



    City                          State    ZIP Code
                                                           Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
                                    Case 6:24-bk-05255-GER                     Doc 1     Filed 09/28/24           Page 73 of 93

Debtor 1             Nelson                 Jose                 Lacruz
Debtor 2             Belinda                                     Benzaquen                                      Case number (if known)
                     First Name             Middle Name          Last Name

     Gifts with a total value of more than $600           Describe the gifts                                        Dates you gave       Value
     per person                                                                                                     the gifts



    Person to Whom You Gave the Gift




    Number     Street



    City                            State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities           Describe what you contributed                               Date you              Value
     that total more than $600                                                                                 contributed



    Charity’s Name




    Number     Street



    City                    State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
     Describe the property you lost and Describe any insurance coverage for the loss                           Date of your loss     Value of property lost
     how the loss occurred              Include the amount that insurance has paid. List pending
                                        insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6
                                   Case 6:24-bk-05255-GER                  Doc 1       Filed 09/28/24           Page 74 of 93

Debtor 1            Nelson               Jose                  Lacruz
Debtor 2            Belinda                                    Benzaquen                                      Case number (if known)
                    First Name           Middle Name           Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Description and value of any property transferred            Date payment or       Amount of payment
    Lewis Roberts, PA                                                                                        transfer was made
    Person Who Was Paid                         Attorney’s Fee
                                                                                                             9/24/2024                     $2,000.00
    999 Douglas Ave #2214
    Number     Street




    Altamonte Springs, FL 32714
    City                   State    ZIP Code
    lewis@lrlawoffice.com
    Email or website address


    Person Who Made the Payment, if Not You



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Description and value of any property transferred            Date payment or       Amount of payment
                                                                                                             transfer was made
    Person Who Was Paid



    Number     Street




    City                   State    ZIP Code



  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7
                                    Case 6:24-bk-05255-GER                  Doc 1      Filed 09/28/24           Page 75 of 93

Debtor 1            Nelson                Jose                  Lacruz
Debtor 2            Belinda                                     Benzaquen                                     Case number (if known)
                    First Name            Middle Name           Last Name

                                                 Description and value of property        Describe any property or payments               Date transfer was
                                                 transferred                              received or debts paid in exchange              made

    Person Who Received Transfer



    Number      Street




    City                   State     ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Description and value of the property transferred                                        Date transfer was
                                                                                                                                          made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Last 4 digits of account number       Type of account or       Date account was           Last balance
                                                                                       instrument               closed, sold, moved, or    before closing or
                                                                                                                transferred                transfer

    Name of Financial Institution
                                                 XXXX–                               ❑ Checking
                                                                                     ❑ Savings
    Number      Street
                                                                                     ❑ Money market
                                                                                     ❑ Brokerage
                                                                                     ❑ Other
    City                   State     ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 8
                                    Case 6:24-bk-05255-GER                    Doc 1       Filed 09/28/24        Page 76 of 93

Debtor 1            Nelson                Jose                 Lacruz
Debtor 2            Belinda                                    Benzaquen                                      Case number (if known)
                    First Name            Middle Name          Last Name



  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                  Who else had access to it?                  Describe the contents                     Do you still have
                                                                                                                                        it?

                                                                                                                                       ❑ No
    Name of Financial Institution                Name
                                                                                                                                       ❑ Yes

    Number      Street                           Number    Street



                                                 City                 State    ZIP Code

    City                   State     ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                  Who else has or had access to it?           Describe the contents                     Do you still have
                                                                                                                                        it?

                                                                                                                                       ❑ No
    Name of Storage Facility                     Name
                                                                                                                                       ❑ Yes

    Number      Street                           Number    Street



                                                 City                 State    ZIP Code

    City                   State     ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 9
                                   Case 6:24-bk-05255-GER                           Doc 1       Filed 09/28/24          Page 77 of 93

Debtor 1            Nelson               Jose                   Lacruz
Debtor 2            Belinda                                     Benzaquen                                             Case number (if known)
                    First Name           Middle Name            Last Name

                                                  Where is the property?                              Describe the property                    Value



    Owner's Name
                                                 Number     Street



    Number     Street

                                                 City                       State    ZIP Code



    City                   State    ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Governmental unit                              Environmental law, if you know it              Date of notice



    Name of site                                Governmental unit



    Number     Street                           Number     Street



                                                City                State     ZIP Code


    City                   State    ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 10
                                    Case 6:24-bk-05255-GER                        Doc 1     Filed 09/28/24             Page 78 of 93

Debtor 1            Nelson                Jose                      Lacruz
Debtor 2            Belinda                                         Benzaquen                                        Case number (if known)
                    First Name            Middle Name               Last Name

                                                   Governmental unit                        Environmental law, if you know it                     Date of notice



    Name of site                                  Governmental unit



    Number        Street                          Number       Street



                                                  City                  State   ZIP Code


    City                    State    ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                   Court or agency                          Nature of the case                                    Status of the case



    Case title                                                                                                                                    ❑ Pending
                                                                                                                                                  ❑ On appeal
                                                  Court Name


                                                                                                                                                  ❑ Concluded
                                                  Number       Street


    Case number
                                                  City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ✔ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ❑ No. None of the above applies. Go to Part 12.
    ✔ Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                    Describe the nature of the business                      Employer Identification number
    ALPS Marmi LLC                                                                                           Do not include Social Security number or ITIN.
    Name
                                                   Stone product sales - currently inactive, but
                                                   not formally closed                                        EIN:    8    3 – 2   3   9      0   4   2   7


                                                    Name of accountant or bookkeeper                         Dates business existed
    1620 Camerbur Dr
    Number        Street
                                                                                                              From 09/13/2021 To
    Orlando, FL 32805
    City                    State    ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 11
                                   Case 6:24-bk-05255-GER                    Doc 1     Filed 09/28/24           Page 79 of 93

Debtor 1            Nelson               Jose                    Lacruz
Debtor 2            Belinda                                      Benzaquen                                    Case number (if known)
                    First Name           Middle Name             Last Name

                                                 Describe the nature of the business                  Employer Identification number
     LaCruz Living INC                                                                                Do not include Social Security number or ITIN.
    Name
                                                sales for natural stone veneers
                                                                                                       EIN:             –


                                                 Name of accountant or bookkeeper                     Dates business existed
     6562 S Goldenrod Rd C
    Number     Street
                                                                                                       From 07/16/2024 To
     Orlando, FL 32822
    City                   State    ZIP Code



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.
                                                 Date issued



    Name                                        MM / DD / YYYY



    Number     Street




    City                   State    ZIP Code




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 12
                                 Case 6:24-bk-05255-GER                 Doc 1       Filed 09/28/24           Page 80 of 93

 Debtor 1           Nelson              Jose                   Lacruz
 Debtor 2           Belinda                                    Benzaquen                                    Case number (if known)
                    First Name          Middle Name            Last Name




 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
  and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘ /s/ Nelson Jose Lacruz                                       ✘ /s/ Belinda Benzaquen
        Signature of Nelson Jose Lacruz, Debtor 1                       Signature of Belinda Benzaquen, Debtor 2


        Date 09/28/2024                                                 Date 09/28/2024




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑ Yes

  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                   Attach the Bankruptcy Petition Preparer’s Notice,
    ❑ Yes. Name of person                                                                          Declaration, and Signature (Official Form 119).




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 13
                                 Case 6:24-bk-05255-GER                      Doc 1         Filed 09/28/24          Page 81 of 93

 Fill in this information to identify your case:

  Debtor 1                  Nelson                 Jose               Lacruz
                           First Name              Middle Name       Last Name

  Debtor 2                  Belinda                                   Benzaquen
  (Spouse, if filing)      First Name              Middle Name       Last Name

  United States Bankruptcy Court for the:                        Middle District of Florida

  Case number                                                                                                                    ❑ Check if this is an
  (if known)                                                                                                                          amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                               12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier,
unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the
form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name
and case number (if known).


 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information
    below.
     Identify the creditor and the property that is collateral            What do you intend to do with the property that secures Did you claim the property as
                                                                          a debt?                                                 exempt on Schedule C?

    Creditor’s                                                            ❑ Surrender the property.                                ❑ No
    name:               ALLY FINANCIAL
                                                                          ❑ Retain the property and redeem it.                     ✔ Yes
                                                                                                                                   ❑
    Description of
    property
                        2020 Ford Transit Connect
                                                                          ✔ Retain the property and enter into a
                                                                          ❑
    securing debt:                                                               Reaffirmation Agreement.
                                                                          ❑ Retain the property and [explain]:




Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                                         page 1
                                  Case 6:24-bk-05255-GER                  Doc 1       Filed 09/28/24           Page 82 of 93

 Debtor 1            Nelson                Jose                 Lacruz
 Debtor 2            Belinda                                    Benzaquen                                    Case number (if known)
                     First Name             Middle Name          Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the
 information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an
 unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                         Will the lease be assumed?
    Lessor’s name:                Mazda Financial Services                                                                    ✔ No
                                                                                                                              ❑
                                                                                                                              ❑ Yes
    Description of leased
    property:                     2023 Mazda CX-9 VIN ending #0952

    Lessor’s name:                Mazda Financial Services                                                                    ✔ No
                                                                                                                              ❑
                                                                                                                              ❑ Yes
    Description of leased
    property:                     2024 Mazda CX-30 VIN ending #5177

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
   property that is subject to an unexpired lease.



  ✘ /s/ Nelson Jose Lacruz                                     ✘ /s/ Belinda Benzaquen
      Signature of Debtor 1                                        Signature of Debtor 2


      Date 09/28/2024                                              Date 09/28/2024
            MM/ DD/ YYYY                                                 MM/ DD/ YYYY



Official Form 108                                   Statement of Intention for Individuals Filing Under Chapter 7                                        page 2
                                 Case 6:24-bk-05255-GER                                       Doc 1             Filed 09/28/24                      Page 83 of 93


B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                   Middle District of Florida

In re        Lacruz, Nelson Jose

             Benzaquen, Belinda                                                                                            Case No.

Debtor                                                                                                                     Chapter                       7


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $2,000.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $2,000.00

        Balance Due ................................................................................................................................................            $0.00

2.                 $338.00                  of the filing fee has been paid.

3.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
5.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

6.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

7.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                                  Page 1 of 2
                       Case 6:24-bk-05255-GER                 Doc 1        Filed 09/28/24         Page 84 of 93


B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        09/28/2024                                              /s/ Lewis Roberts
                Date                                         Lewis Roberts
                                                             Signature of Attorney
                                                                                             Bar Number: 0098190
                                                                                                Lewis Roberts, PA
                                                                                           999 Douglas Ave #2214
                                                                                      Altamonte Springs, FL 32714
                                                                                            Phone: (407) 749-0080

                                                                               Lewis Roberts, PA
                                                            Name of law firm




                                                                 Page 2 of 2
                                 Case 6:24-bk-05255-GER                            Doc 1        Filed 09/28/24      Page 85 of 93
 Fill in this information to identify your case:                                                                 Check one box only as directed in this form and in
                                                                                                                 Form 122A-1Supp:
  Debtor 1                  Nelson                 Jose                 Lacruz                                   ✔ 1. There is no presumption of abuse.
                                                                                                                 ❑
                           First Name              Middle Name          Last Name
                                                                                                                 ❑ 2. The calculation to determine if a presumption
  Debtor 2                  Belinda                                     Benzaquen                                   of abuse applies will be made under Chapter 7
  (Spouse, if filing)      First Name              Middle Name          Last Name                                   Means Test Calculation (Official Form 122A-2).

  United States Bankruptcy Court for the:                        Middle District of Florida                      ❑ 3. The Means Test does not apply now because
                                                                                                                    of qualified military service but it could apply later.
  Case number
  (if known)                                                                                                     ❑ Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                  12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name
and case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or
because of qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp)
with this form.

 Part 1: Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
     ❑ Not married. Fill out Column A, lines 2-11.
     ✔ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
     ❑
     ❑ Married and your spouse is NOT filing with you. You and your spouse are:
        ❑ Living in the same household and are not legally separated. Fill out both Column A and B, lines 2-11.
        ❑ Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

  Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
  101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income
  varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For
  example, if both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write
  $0 in the space.

                                                                                                             Column A             Column B
                                                                                                             Debtor 1             Debtor 2 or
                                                                                                                                  non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all payroll
    deductions).                                                                                                        $0.00                    $0.00
 3. Alimony and maintenance payments. Do not include payments from a spouse if Column B
    is filled in.                                                                                                       $0.00                    $0.00
 4. All amounts from any source which are regularly paid for household expenses of you or
    your dependents, including child support. Include regular contributions from an
    unmarried partner, members of your household, your dependents, parents, and
    roommates. Include regular contributions from a spouse only if Column B is not filled in. Do
    not include payments you listed on line 3.                                                                          $0.00                    $0.00
 5. Net income from operating a business, profession,
                                                                        Debtor 1         Debtor 2
    or farm
     Gross receipts (before all deductions)                              ($165.51)        $1,073.21

     Ordinary and necessary operating expenses                      -       $0.00    -        $0.00

                                                                                                      Copy
                                                                        ($165.51)        $1,073.21
     Net monthly income from a business, profession, or farm                                          here
                                                                                                      →          ($165.51)                  $1,073.21
 6. Net income from rental and other real property                      Debtor 1         Debtor 2
     Gross receipts (before all deductions)                                 $0.00             $0.00

     Ordinary and necessary operating expenses                      -       $0.00    -        $0.00

                                                                                                      Copy
                                                                            $0.00            $0.00
     Net monthly income from rental or other real property                                            here
                                                                                                      →                 $0.00                    $0.00
 7. Interest, dividends, and royalties                                                                                  $0.00                    $0.00

 Official Form 122A-1                                            Chapter 7 Statement of Your Current Monthly Income                                                 page 1
                                          Case 6:24-bk-05255-GER                                         Doc 1   Filed 09/28/24             Page 86 of 93
Debtor 1                   Nelson                         Jose                              Lacruz
Debtor 2                   Belinda                                                          Benzaquen                                     Case number (if known)
                           First Name                     Middle Name                       Last Name
                                                                                                                           Column A                       Column B
                                                                                                                           Debtor 1                       Debtor 2 or
                                                                                                                                                          non-filing spouse
       8. Unemployment compensation                                                                                                        $0.00                           $0.00
           Do not enter the amount if you contend that the amount received was a benefit
           under
           the Social Security Act. Instead, list it here: ..................................................    ↓
           For you....................................................................................           $0.00
           For your spouse......................................................................                 $0.00
       9. Pension or retirement income. Do not include any amount received that was a                                                      $0.00                           $0.00
          benefit under the Social Security Act. Also, except as stated in the next sentence,
          do not include any compensation, pension, pay, annuity, or allowance paid by the
          United States Government in connection with a disability, combat-related injury or
          disability, or death of a member of the uniformed services. If you received any
          retired pay paid under chapter 61 of title 10, then include that pay only to the extent
          that it does not exceed the amount of retired pay to which you would otherwise be
          entitled if retired under any provision of title 10 other than chapter 61 of that title.
       10. Income from all other sources not listed above. Specify the source and amount.
           Do not include any benefits received under the Social Security Act; payments
           received as a victim of a war crime, a crime against humanity, or international or
           domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by
           the United States Government in connection with a disability, combat-related
           injury or disability, or death of a member of the uniformed services. If necessary,
           list other sources on a separate page and put the total below.




     Total amounts from separate pages, if any.                                                                            +                               +

       11. Calculate your total current monthly income. Add lines 2 through 10 for                                                  ($165.51)              +        $1,073.21       =     $907.70
           each column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                     Total current
                                                                                                                                                                                    monthly income

 Part 2: Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a. Copy your total current monthly income from line 11....................................................................................      Copy line 11 here →                $907.70
            Multiply by 12 (the number of months in a year).                                                                                                                            X 12
    12b. The result is your annual income for this part of the form.                                                                                                       12b.     $10,892.40
13. Calculate the median family income that applies to you. Follow these steps:
    Fill in the state in which you live.                                             Florida

    Fill in the number of people in your household.                                  2

    Fill in the median family income for your state and size of household.................................................................................................... 13.   $77,639.00
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.
14. How do the lines compare?
         ✔ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
    14a. ❑
           Go to Part 3. Do NOT fill out or file Official Form 122A-2.
    14b. ❑ Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
           Go to Part 3 and fill out Form 122A–2.




Official Form 122A-1                                                                  Chapter 7 Statement of Your Current Monthly Income                                                       page 2
                                Case 6:24-bk-05255-GER                     Doc 1      Filed 09/28/24           Page 87 of 93
Debtor 1           Nelson                Jose                    Lacruz
Debtor 2           Belinda                                       Benzaquen                                    Case number (if known)
                   First Name            Middle Name              Last Name

Part 3: Sign Below

    By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

   ✘ /s/ Nelson Jose Lacruz                                                             ✘ /s/ Belinda Benzaquen
       Signature of Debtor 1                                                                Signature of Debtor 2

       Date 09/28/2024                                                                      Date 09/28/2024
              MM/ DD/ YYYY                                                                        MM/ DD/ YYYY

    If you checked line 14a, do NOT fill out or file Form 122A–2.
    If you checked line 14b, fill out Form 122A–2 and file it with this form.




Official Form 122A-1                                         Chapter 7 Statement of Your Current Monthly Income                              page 3
                     Case 6:24-bk-05255-GER                      Doc 1       Filed 09/28/24            Page 88 of 93

                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                       MIDDLE DISTRICT OF FLORIDA
                                                            ORLANDO DIVISION

IN RE: Lacruz, Nelson Jose                                                            CASE NO
       Benzaquen, Belinda
                                                                                      CHAPTER 7




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date     09/28/2024             Signature                             /s/ Nelson Jose Lacruz
                                                                       Nelson Jose Lacruz, Debtor


Date     09/28/2024             Signature                             /s/ Belinda Benzaquen
                                                                     Belinda Benzaquen, Joint Debtor
Case 6:24-bk-05255-GER   Doc 1     Filed 09/28/24   Page 89 of 93


                    AFFIRM INC
                    650 CALIFORNIA ST FL 12
                    SAN FRANCISCO, CA 94108




                    ALLY CREDIT CARD/CWS
                    1000 N WEST ST FL 11
                    WILMINGTON, DE 19801




                    ALLY FINANCIAL
                    200 RENAISSANCE CTR # B0
                    DETROIT, MI 48243




                    AMEX
                    PO BOX 297871
                    FORT LAUDERDALE, FL 33329




                    APPLE CARD/GS BANK USA
                    LOCKBOX 6112 PO BOX 7247
                    PHILADELPHIA, PA 19170




                    BANK OF AMERICA
                    PO BOX 982238
                    EL PASO, TX 79998




                    BARCLAYS BANK DELAWARE
                    PO BOX 8803
                    WILMINGTON, DE 19899




                    BEST EGG/MARLETTE SE
                    3419 SILVERSIDE RD
                    WILMINGTON, DE 19810
Case 6:24-bk-05255-GER   Doc 1     Filed 09/28/24   Page 90 of 93


                    Business Card
                    PO Box 15796
                    Wilmington, DE 19886




                    CAPITAL ONE BANK USA
                    PO BOX 31293
                    SALT LAKE CITY, UT 84131




                    COMENITY BANK/EXPRESS
                    PO BOX 182789
                    COLUMBUS, OH 43218




                    COMENITYBANK/VICTORIA
                    PO BOX 182789
                    COLUMBUS, OH 43218




                    COMENITYCB/DAVIDSBRIDE
                    PO BOX 182120
                    COLUMBUS, OH 43218




                    COMENITYCB/LENDINGCLUB
                    PO BOX 182120
                    COLUMBUS, OH 43218




                    DEFI/TMCC/MAZDA FIN SV
                    6565 HEADQUARTERS DR
                    PLANO, TX 75024




                    DISCOVER BANK
                    PO BOX 30939
                    SALT LAKE CITY, UT 84130
Case 6:24-bk-05255-GER    Doc 1       Filed 09/28/24   Page 91 of 93


                    FORD MOTOR CREDIT COMP
                    PO BOX 542000
                    OMAHA, NE 68154




                    HYUNDAI CAPITAL AMERIC
                    4000 MACARTHUR BLVD STE
                    NEWPORT BEACH, CA 92660




                    JPMCB AUTO FINANCE
                    PO BOX 901003
                    FORT WORTH, TX 76101




                    LOANCARE SERVICING C
                    3637 SENTARA WAY
                    VIRGINIA BEACH, VA 23452




                    Mazda Financial Services
                    PO Box 74689
                    Chicago, IL 60675-4689




                    NOVO
                    c/o Middlesex Federal
                    1 College
                    Somerville, MA 02144



                    PREFERRED CREDIT INC
                    628 ROOSEVELT RD
                    SAINT CLOUD, MN 56301




                    RENT SELFREPORTED
                    PO BOX 4500
                    ALLEN, TX 75013
Case 6:24-bk-05255-GER   Doc 1    Filed 09/28/24   Page 92 of 93


                    SIREN WSFS UNICORN
                    PO BOX 63688
                    PHILADELPHIA, PA 19147




                    SYNCB/AMAZON PLCC
                    PO BOX 965015
                    ORLANDO, FL 32896




                    SYNCB/CITY FURNITURE
                    C/O PO BOX 965036
                    ORLANDO, FL 32896




                    SYNCB/PPC
                    PO BOX 530975
                    ORLANDO, FL 32896




                    SYNCB/ROOMS TO GO
                    PO BOX 965036
                    ORLANDO, FL 32896




                    SYNCB/SAMS CLUB
                    PO BOX 965005
                    ORLANDO, FL 32896




                    SYNCB/SLEEPYS
                    C/O P.O. BOX 965036
                    ORLANDO, FL 328965036




                    SYNCB/VENMO
                    PO BOX 965015
                    ORLANDO, FL 32896
Case 6:24-bk-05255-GER   Doc 1        Filed 09/28/24   Page 93 of 93


                    TELECOM SELFREPORTED
                    PO BOX 4500
                    ALLEN, TX 75013




                    THD/CBNA
                    PO BOX 6497
                    SIOUX FALLS, SD 57117




                    UPGRADE INC
                    275 BATTERY ST FL 23
                    SAN FRANCISCO, CA 94111




                    UPLIFT/CELTIC BANK
                    440 N WOLFE RD
                    SUNNYVALE, CA 94085




                    WFFNB/RAYMOUR & FLAN
                    PO BOX 393
                    MINNEAPOLIS, MN 55480
